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                          United States District                                       FEB    I 5 2A18
                                                 for the
                                       Western District of New York

             United States of America

                         v.                                    Case   No. 18-MJ-     %lO
             MATTHEW D. LINCOLN

                       Defendant


                                        CRINtrNAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and
belief.
        Between on or about the date of December 26. 2017 through February 15" 2018 in the county of
Monroe in the Western District of New York, the defendant violated 18 U.S.C. 2422(b\, an offinse
                                                                              S
described as follows:

the defendant knowingly, using a facllity or means of interstate or foreign commerce, attempted to
persuade, induce, entice or coerce an individual who had not attarnedthi age of 18 years, to .rgrg.
in sexual activity for which any person can be chargedwith a criminal offense, in violition of fitti t"A,
United States Code, Section 2422@).

This criminal complaint is based on these facts:

X   Continued on the attached sheet.

Please see attached affidavit


                                                           4u'
                                                                  di,ri*#x:;..*
                                                         Christopher Toscano. Task Force Officer FBI
                                                                         Printed name and title

Sworn to before me and signed in my presence.


Date:     zltfll6
                                                                         Judgeb signature



City and State: Rochester. New york
                                                                         Printed name and title
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                                   AFFIDAVIT IN SUPPORT
                                 OF A CRIMINAL COMPLAINT
                                                                              /8{y'?ora
STATE OF NEW YORK                )
couNTY oF MONROE                 )
CITY OF ROCIIESTER               )

I, Christopher Toscano, being duly sworn, depose and state the following:

I.         INTRODUCTION

      1. I am employed as a Deputy with the Monroe           County Sheriffs Office. I have been
           employed by the Monroe County Sheriffs Office srnce 2012. I am currently assigned
           as a Task Force Officer with the FBl-Rochester where I am a member of the Child
           Exploitation Task Force (CETF) and have been so since March,2017. As part of my
           daily duties as a Task Force Officer with ttre FBI, I investigate crimes involving child
           exploitation and child pornography including violations pertaining              to  the
           ffansportation, production, distribution, receipt and possession of child pornography,
           as well as coercion and enticement in violation of Title 18, United States Code,
           Sections 2251, 2252 and 2252A and 2422.I have received specialized training in the
           arca of child pornography and child exploitation, artd I have had the opportunity to
           participate in child exploitation investigations.

      2. I  make this affidavit in support of a criminal complaint charging MATTHEW D.
           LINCOLN of Henrietta, New York, with violating Title 18, United States Code,
           Section 2422b) related to online enticement of aminor.

      3. The statements contained in this affidavit are based upon my investigation,
         information provided to me by other law enforcement personnel, and on my
           experience and training as a Deputy and as a Task Force Officer with the FBI.
           Because this affidavit is being submitted for the limited purpose of securing a
           criminal complaint, I have not included each and every fact known to me conceming
           this investigation. I have set forth only the facts that I believe are necess ary to
           establish probable cause to believe ttrat MATTIIEW D. LINCOLN did knowingly
           violate Title 18, United States Code, Section 2422@).

tr.        BACKGROUND

      4.   On December 26,2017, Brighton Police Department took a report from Cooperating
           Witress 1 (CW1) involving inappropriate text messages that he received from the
           phone number "585-750-7\23". CWl indicated that he began the dialog wittr this
           individual because his daughter who is 11 years old had received messagei from this
           number. During the dialog, CWl received a photo from the number "585-750-7123,,
           of an adult Caucasian male wearing a Buffalo Bills polo shirt and holding a cell
           phone. The picture was cropped and only depicted half of the males face.
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IIr.        THE I}I-VESTIGATION

       5.   On February     l, 2018, an undercover agent (UCl) with the Brighton Police
            Department sent a text message to cell phone number "585-750-7L23", which was
            later identified as belonging to MATTHEW LINCOLN, uttTizing an undercover
            phone supplied by your affiant. UC1 utilized the undercover name Ally when
            engaging in conversation with LINCOLN. Ally's text read "Morgan its Ally my
            parents took my phone away agarn so im using my old Ipod at schl Can you help me
            with this math shit during lunch tomrow O O plz". LINCOLN's first response back
            was "Sorry, you have the wrong number. This is matt". Ally then responded with
            "sorry Matt, Do I know you?" in which LINCOLN responded with "idk what's
            your name?". Ally responded by saying "AIly can't talk now" in which LINCOLN
            responded by saying "ok" "Shoot me a message when you want if you want to".

       6.   Several text messages between Ally and LINCOLN continued over the course of
            approximately 15 days. Over the course of those communications, Ally clearly
            identified herself as being 16 years old. LINCOLN acknowledged Ally's age,
            indicated he did not care. Further conversations ensued in which LINCOLN
            engaged in sexually explicit conversations with Ally.

   7.       During this same time period, LINCOLN requested photos of AIly. In response,
            UCl sent a copy of a known undercover photo to the defendant showing a clothed
            female. LINCOLN then requested additional photos of AIly showing her body. In
            subsequent text conversations, LINCOLN would frequently ask what AIly was
            wearing, specifically asking about her underwear.

   8. During the text conversations, LINCOLN           sent several photos to Ally. Some of the
            photographs depicted the defendant, clothed. LINCOLN also sent photos of an erect
            penis to AIly.

   9.       On February 14,2018, LINCOLN suggested that he meet up with Ally. During thar
            conversation LINCOLN stated "Cool. So you must travel all over the place. Does
            that mean you are coming over tomorrow?" to which Ally responds with "Maybe".
            LINCOLN then states "You are such a tease. what time you thinking?,, when
            asked what LINCOLN would do to Ally, LINCOLN stated "Well I am going start
            with some making out and foreplay while I getyou undressed. Then I am going to
            eat your pussy out, fucking youin a few different positions, and have you suck me off
            too with some deepthroating.i would not mind giving you anal if you end up ok with
            it. That way I would fuck all3 of your holes,,.
   10.      During this conversation, LINCOLN sent a photo of himself to Ally which depicted
            the defendant naked, exposing his penis. The photo appears to be taken in a kiichen.
            Law enforcement subsequently identified the location to be the kitchen of
            LINC OLN' S apartme nt at 400 Clay Road, Henrieff a.
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ll.Ally     agreed to meet LINCOLN in person on February 15,2018        at Jay's Diner,
      located in Brighton, within the Western District of New York.

12.On February 15, 2018 Ally stated to LINCOLN "Morning @ I'm here inside!!" in
   which LINCOLN responded by stating "ok. At jays?". Afly then stated "yes."
   LINCOLN stated "Ok. Give me about 10 minutes. Getting changed right now".
   At approximately 7:30 a.m. two undercover police officers in undercover vehicles
   responded to LINCOLN'S residence and observed his vehicle in the parking lot. At
   approximately 9:08 a.m. the undercover police officers observed LINCOLN get into
   his vehicle and they followed LINCOLN from his apartment to Jay's Diner.
   LINCOLN then parked his vehicle in the parking lot of Jay's Diner and proceeded
   inside. LINCOLN was then taken into custody by Brighton Police Department and
   transported back to their headquarters.

13.   After being advised of his Miranda wamings and subsequently waiving them,
      LINCOLN agreed to speak with law enforcement. During that recorded statement,
      LINCOLN admitted engaging in chats with AIly. He further admitted that he was
      the one who sent the photos of himself to her. LINCOLN indicated that on
      Wednesday (2/14/18) he went to Walmart and purchased a teddy bear, a box of
      chocolates and a cardto give to Ally.

14.   Itis a Class E Felony criminal offense in the State of New York for a person over
      twenty-one years of age to engage in sexual intercourse with a person under
      seventeen years of age, specifically, a violation of New York State Penal Law
      Section 130.25 (Rape in the third degree).

15.   The texts and chats between LINCOLN and Afly occurred online using cellphones
      which were manufacnrred outside the State of New York.

16.   MATTHEW LINCOLN was born n 1970.
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CONCLUSION

WHEREFORE, based on the foregoing, I respectfully submit that there is probable cause to
believe ttrat MATTHEW LINCOLN knowingty, using a facility or means of interstate or
foreign commerce, attempted to persuade, induce, entice or coerce an individual who had
not attained the age of 18 years, to engage in sexual activity for which any person can be
charged with a criminal offense, in violation of Title 18, United States Code, Section
2422@).


                                          (' -,       o,
                                         Christoilher Toscano,
                                         Task Force Officer
                                         Federal Bureau of Investigations
Swom to and subscribed
before me this rf day of
February, 2018.



HONORABLE
UNITED STATES MAGISTRATE ruDGE
